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AO450 (NVD Rev. 2/18) Judgment in a Civil Case




                                  UNITED STATES DISTRICT COURT
                                                 DISTRICT OF NEVADA


Zuffa LLC,
                                                              DEFAULT JUDGMENT IN A CIVIL CASE
                                Plaintiff,
             v.                                               Case Number: 2:19-cv-01518-APG-EJY

Patrick l Hua, et al.,

                                 Defendants.


         Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and
         the jury has rendered its verdict.

         Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
         or heard and a decision has been rendered.

         Decision by Court. This action came for consideration before the Court. The issues have been
         considered and a decision has been rendered.

         IT IS ORDERED AND ADJUDGED
         that judgment is entered in favor of Plaintiff, Zuffa LLC, and against Defendants, Patrick L. Hua and
         PPLS LLC, dba G.O.A.T. Sports Bar, jointly and severally, in the following amounts:
                 a. Damages under 47 U.S.C. § 605(e)(3)(c)(i)(II): $10,000.00
                 b. Damages under 47 U.S.C. § 605(e)(3)(c)(ii): $ 10,000.00
                 c. Damages under 17 U.S.C. §504(c)(1): $ 5,000.00
                 d. Damages under 17 U.S.C. §504(c)(2): $ 5,000.00
                 TOTAL DAMAGES AWARD: $30,000.00




         7/31/2020                                            DEBRA K. KEMPI
         Date                                                Clerk



                                                              /s/ M. Reyes
                                                             Deputy Clerk
